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                         UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE




    ANTHONY M LOGAN                          )
    Plaintiff,                               )
                                             )
    v.                                       )    Civil No. 1:17-cv-00360-GZS
                                             )
    MAINE STATE PRISON STAFF                 )
    Defendant,                               )




                                    JUDGMENT


            In accordance with the Order Affirming the Recommended Decision of the

      Magistrate Judge issued on January 3, 2018 by U.S. District Judge George Z.

      Singal, the Plaintiff’s Complaint is Dismissed. JUDGMENT of Dismissal is

      hereby entered.



                                                 CHRISTA K. BERRY
                                                 CLERK



                                       By:       /s/Lindsey Caron
                                                 Deputy Clerk


Dated: January 5, 2018
